Case 1:18-cv-00680-SCJ Document 39 Filed 06/13/24 Page 1 of 1

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

UNITED STATES OF AMERICA ex rel.
KELLI WILLIAMS,
CIVIL ACTION FILE NO.

Plaintiff-Relator,
1:18-CV-00680-SCJ

V.
THE SOUTHERN COMPANY, INC.,
SOUTHERN COMPANY SERVICES,

INC., and MISSISSIPPI POWER
COMPANY,

Defendants.

ORDER

This matter appears before the Court on the pending Motion to Dismiss for
which Defendants have requested oral argument (Doc. No. [27], 2). Said request
is GRANTED. The Court will hold oral argument on the 31st day of July, 2024
at 10:00 a.m. (Richard B. Russell Federal Building and United States Courthouse,
75 Ted Turner Drive, S.W., Atlanta, Georgia, in Courtroom 1907).

IT IS SO ORDERED this 12th day of Jung, 2024.

C

HONORABLE STEVE ¢. JONES
UNITED STATES DISTRICT JUDGE

